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  4
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  6    Attorneys for The Huntington Beach Gables Homeowners Association
  7
  8                            UNITED STATES BANKRUPTCY COURT

  9                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 10
      In re:
 11                                                       Case No. 8:21-bk-11710-SC

 12   JAMIE LYNN GALLIAN,                                 Chapter 7 Proceeding

 13                                                       REPLY IN SUPPORT OF MOTION FOR
                                                          RELIEF FROM THE AUTOMATIC
 14              Debtor.                                  STAY (ACTION IN A NON-
                                                          BANKRUPTCY FORUM); REQUEST
 15                                                       FOR JUDICIAL NOTICE IN SUPPORT
                                                          OF SAME
 16
 17                                                       Zoom Hearing:
                                                          Date:       July 19, 2023
 18                                                       Time:       10:00 a.m.
                                                          Place:      Courtroom 5C
 19                                                                   U.S. Bankruptcy Court
                                                                      411 W. Fourth Street
 20                                                                   Santa Ana, CA 92701

 21
 22            TO    THE    HONORABLE          SCOTT      C.   CLARKSON,         UNITED   STATES

 23   BANKRUPTCY JUDGE, THE DEBTOR IN PRO PER, THE OFFICE OF THE UNITED

 24   STATES TRUSTEE, THE TRUSTEE AND HIS COUNSEL, AND ALL PARTIES IN

 25   INTEREST:

 26            The Huntington Beach Gables Homeowners Association (“HOA”) hereby files its Reply in

 27   Support of its Motion for Relief from the Automatic Stay (Action in a Non-Bankruptcy Forum)

 28   (Docket No. 344) (Motion) and respectfully represents as follows:


                                                      1
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  1   I.      SUMMARY OF OPPOSITION
  2           Debtor cites the factors set forth in In re Curtis, 40 B.R. 795 (Bankr. D. Utah 1984) cited
  3   favorably by one judge of the Court as justification to indefinitely hold Movant’s claims against a
  4   third party hostage and to permanently prejudice the HOA’s rights to recover a property located
  5   inside the HOA’s community and against which the HOA otherwise has lien rights but for Debtor’s
  6   transfer that HOA alleges is fraudulent. The HOA questions whether the Curtis factors are relevant
  7   because the HOA’s claims are against a third party, but the application of those factors shows why
  8   there is cause for stay relief. To the extent the Debtor ever had right to an automatic stay against
  9   the HOA’s fraudulent transfer claims against Randall Nickel, Debtor forfeited that right upon the
 10   denial of her discharge. 11 U.S.C. § 362(c)(2)(C). Finally, the HOA needs relief from the stay
 11   because the Orange County Superior Court is unable or unwilling to exercise jurisdiction without a
 12   judicial determination that any stay of the HOA’s claims is lifted. Until and unless this Court
 13   determines that the HOA is granted relief from the stay, the HOA’s rights will be prejudiced.
 14   II.     STATEMENT OF FACTS
 15           The basic facts underlying the Motion are simple. Debtor leased and previously resided at
 16   4476 Alderport Drive, Unit 53, Huntington Beach, CA 92649 (“Unit 53”) located in the HOA’s
 17   community. While there, Debtor and the HOA had several disputes which resulted in litigation and
 18   judgments in favor of the HOA and against Debtor as shown by the HOA’s amended proof of claim
 19   filed on October 25, 2022. (See Exhibit “1” to the Request for Judicial Notice (“RJN”) annexed
 20   hereto.) On October 31, 2018, during the litigation between Debtor and the HOA and before the
 21   entry of judgments against her, Debtor transferred Unit 53 to Randall Nickel, allegedly in cash sale
 22   (“Transfer”). But for the Transfer, the HOA would have the right to execute on Unit 53 pursuant to
 23   its recorded CC&Rs. (See Motion, at 34.) Accordingly, as a cross-complaint against Randall Nickel
 24   in which Debtor was joined only as a necessary party,1 the HOA sued Nickel to avoid the Transfer
 25   as a voidable transaction under California Civil Code §§ 3439.04 and 3439.07 and for an injunction
 26
 27
      1
        The HOA is evaluating whether it will seek to dismiss Debtor as a defendant in the Action. However, there is no
 28   longer any stay protecting the Debtor by operation of 11 U.S.C. § 362(c)(2)(C). At this time, the HOA is only seeking
      relief from the automatic stay as to Mr. Nickel. (See Motion, at 6.)

                                                               2
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  1   against further transfers of Unit 53 pursuant to California Civil Code § 3439.07(a)(3)(A). (See
  2   Motion, at 10-15.)
  3   III.   ARGUMENT
  4          A.      There is No Longer a Stay as to Actions Against the Debtor Preventing the
  5   HOA’s Prosecution of the Action in Full
  6          In all candor to the Court, recent case law does suggest that the automatic stay under 11
  7   U.S.C. § 362(a)(1) applies even to actions against non-debtor third parties where a fraudulent
  8   transfer is at issue. See Koeberer v. Cal. Bank of Commerce (In re Koeberer), 632 B.R. 680 (B.A.P.
  9   9th Cir. 2021). Unfortunately for Debtor, the automatic stay under 11 U.S.C. § 362(a)(1) terminated
 10   upon the Court’s entry of judgment denying her discharge.
 11          As Section 362(c)(2)(C) clearly provides:
             (c) Except as provided in subsections (d), (e), (f), and (h) of this section—
 12
                    (1) the stay of an act against property of the estate under subsection (a) of this
 13                 section continues until such property is no longer property of the estate;
                    (2) the stay of any other act under subsection (a) of this section continues
 14                 until the earliest of—
                            (A) the time the case is closed;
 15                         (B) the time the case is dismissed; or
 16                         (C) if the case is a case under chapter 7 of this title concerning an
                            individual or a case under chapter 9, 11, 12, or 13 of this title, the time
 17                         a discharge is granted or denied . . . .

 18   11 U.S.C. § 362(c). Accordingly, while the automatic stay provided for under Section 362(a)(3)

 19   survives to protect property of the estate, no other stay, including the stay against actions to collect

 20   claims against the Debtor (11 U.S.C. § 362(a)(1)), applies. Given that there is no stay either as to

 21   Nickel or Debtor regarding the Action, cause exists to grant relief under Section 362(d)(1) of the

 22   Bankruptcy Code. Moreover, the Action is no longer property of the Estate stayed under Section

 23   362(a)(3). The Trustee expressly abandoned the Action by order entered on September 23, 2022.

 24   (See Motion, at 94-95.)

 25          B.      The Curtis Factors Are Inapplicable, But Even if they Applied, the HOA

 26   Prevails Under Them

 27           The law of this Circuit is that no bankruptcy court may bind another, nor can a district court

 28   bind a bankruptcy court except in a direct appeal. See In re Silverman, 616 F.3d 1001, 1006 & n.2

                                                         3
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  1   (9th Cir. 2010). Thus, when Judge Carroll applied the Curtis factors to determine cause under
  2   Section 362(d)(1) in Truebro, Inc. v. Plumberex Specialty Prods., Inc. (In re Plumberex Specialty
  3   Prods., Inc.), 311 B.R. 551, 558-59 (Bankr. C.D. Cal. 2004), that decision is not binding on this
  4   Court, nor does it appear that Curtis a mandatory consideration to determine cause to grant relief
  5   from stay when the stay no longer exists by operation of Section 362.
  6          Assuming arguendo that the Curtis factors are relevant on the Motion, they show that the
  7   HOA must prevail:
       Curtis Factor                                            Analysis
  8
  9    1. Whether the relief will result in a partial or Relief from stay for the HOA to pursue the
       complete resolution of the issues;                Action will result in a complete resolution in
 10                                                      state court on the issue of whether Debtor
                                                         transferred Unit 53 with actual intent or
 11                                                      constructively to hinder, delay, or defraud her
 12                                                      creditors. The Court would arguably abstain
                                                         from the Action in its entirety because it does
 13                                                      not arise under Title 11, it did not arise in the
                                                         bankruptcy case, and is no longer related to the
 14                                                      bankruptcy case because the Trustee abandoned
                                                         it.
 15
 16    2. The lack of any connection with or Again, relief from the stay is proper because it
       interference with the bankruptcy case; does not interfere with the bankruptcy case: the
 17                                           estate has no interest in the Action and there is
                                              no automatic stay protecting the Debtor to
 18                                           prevent the Action from proceeding.
 19
       3. Whether the foreign proceeding involves the           This factor appears to be inapplicable.
 20    debtor as a fiduciary;
       4. Whether a specialized tribunal has been               This factor appears to be inapplicable.
 21    established to hear the particular cause of action
       and whether that tribunal has the expertise to
 22    hear such cases;
 23    5. Whether the debtor's insurance carrier has            This factor is inapplicable.
       assumed full financial responsibility for
 24    defending the litigation;
       6. Whether the action essentially involves third         This factor weighs strongly in favor of granting
 25    parties, and the debtor functions only as a bailee       relief from the automatic stay. In point of fact,
       or conduit for the goods or proceeds in                  the Action is stayed because the Superior Court
 26
       question;                                                judge has requested confirmation from this
 27                                                             Court that no stay applies.

 28    7. Whether the litigation in another forum This factor also weighs in favor of the HOA.

                                                            4
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       would prejudice the interests of other creditors, The only party with an interest in the Action is
  1
       the creditors' committee and other interested the HOA to recover a property located within
  2    parties;                                          its community that Debtor allegedly
                                                         fraudulently transferred to Nickel, a suspicious
  3                                                      new occupant in the HOA’s community.
                                                         Debtor cannot credibly maintain that her
  4                                                      interests are prejudiced when she transferred
                                                         away her leasehold interest to Nickel.
  5
  6    8. Whether the judgment claim arising from the         This factor is inapplicable.
       foreign action is subject to equitable
  7    subordination under Section 510(c). Whether
       movant's success in the foreign proceeding
  8    would result in a judicial lien avoidable by the
  9    debtor under Section 522(f). The interests of
       judicial economy and the expeditious and
 10    economical determination of litigation for the
       parties;
 11    11. Whether the foreign proceedings have               This factor is inapplicable where Debtor freely
       progressed to the point where the parties are          admits that the foreign proceeding did not near
 12
       prepared for trial, and                                trial because her purpose in filing for
 13                                                           bankruptcy was to terminate the Action. (See
                                                              Amended Response to Motion, at 16:25-26.)
 14
       12. The impact of the stay on the parties and the This factor weighs strongly in favor of the HOA
 15    "balance of hurt."                                because Nickel continues to be an occupant in
 16                                                      the HOA’s community as a result of Debtor’s
                                                         unlawful prepetition transfer. Debtor’s only
 17                                                      response is that she has provided all the
                                                         documents she needed to. This cannot be the
 18                                                      case as she has had her discharge denied under
                                                         11 U.S.C. § 727(a)(5) and consequently no
 19                                                      automatic stay protects her under 11 U.S.C. §
 20                                                      362(a)(1).

 21
               Debtor calls upon the Court to enforce “the spirit of a Fresh Start” (Amended Response, at
 22
      21:25-27) even as she has forfeited the same by making false oaths, transferring property with intent
 23
      to hinder, delay, or defraud creditors, and failing to explain the loss of assets satisfactorily to the
 24
      Court. (See RJN, Exhibit “2.”) Since she has no fresh start, the Court should instead enforce the
 25
      spirit of enabling creditors to enforce their rights in a court of competent jurisdiction that is currently
 26
      stayed absent a judicial determination that relief from the stay is granted.
 27
      ///
 28

                                                          5
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  1   IV.   CONCLUSION
  2         WHEREFORE, the HOA respectfully requests that the Motion be granted.
  3                                          Respectfully submitted,
  4
      DATED: July 12, 2023                   GOE FORSYTHE & HODGES LLP
  5
                                             By: /s/ Brandon J. Iskander                  .
  6                                              Robert P. Goe
  7                                              Brandon J. Iskander
                                                 Attorneys for The Huntington Beach
  8                                              Gables Homeowners’ Association

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  1                               REQUEST FOR JUDICIAL NOTICE
  2          Federal courts may take judicial notice of facts which are “capable of accurate and ready
  3   determination by resort to sources whose accuracy cannot reasonably be questioned.” Federal Rule
  4   of Evidence 201(c)(2). This includes proceedings in other courts, both within and without the federal
  5   judicial system, if those proceedings have a direct relation to the matters at issue. U.S. ex rel.
  6   Robinson Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992). The court
  7   may also take judicial notice of undisputed facts that are contained in extrinsic materials, such as
  8   public land records. See Mir v. Little Co. of Mary Hosp., 844 F.2d 646, 649 (9th Cir. 1988). Based
  9   on the foregoing, Movant requests the Court take judicial notice of the following:
 10         1.       A true and correct copy of the Movant’s Amended Claim 1 filed on October 25, 2022
 11   in In re Jamie Lynn Gallian, Case No. 8:21-bk-11710-SC, a bankruptcy case before the United
 12   States Bankruptcy Court for the Central District of California, Santa Ana Division (“Bankruptcy
 13   Court”) is attached hereto and incorporated herein as Exhibit “1.”
 14         2.       A true and correct copy of the Bankruptcy Court’s Judgment Denying Debtor’s
 15   Discharge Pursuant to 11 U.S.C. §§ 727(a)(2)(A), (a)(4), and (a)(5) entered on July 7, 2023 in
 16   Houser Bros. Co. v. Gallian, Adv. No. 8:21-ap-01097-SC is attached hereto and incorporated herein
 17   as Exhibit “2.”
 18                                                    Respectfully submitted,
 19   Dated: July 12, 2023                             GOE FORSYTHE & HODGES LLP
 20                                               By: /s/ Brandon J. Iskander
                                                      Robert P. Goe
 21                                                   Brandon J. Iskander
 22                                                   Attorneys for the Huntington Beach Gables
                                                      Homeowners Association
 23
 24
 25
 26
 27
 28

                                                       7
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                   EXHIBIT 1




                   EXHIBIT 1
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  Fill in this information to identify the case:

  Debtor 1               JAMIE LYNN GALLIAN
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

                                              Central District of California
  United States Bankruptcy Court for the: __________ District of __________

  Case number            8:21-bk-11710-SC
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                      

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      The  Huntington Beach Gables Homeowners Association
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔ No
   acquired from
                                      
   someone else?                       Yes.     From whom?       ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Robert P. Goe / Goe Forsythe & Hodges LLP
                                      _____________________________________________________                       Huntington Beach Gables Homeowners Assn.
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     17701 Cowan Ave, Suite 210
                                      ______________________________________________________                      c/o Goe Forsythe & Hodges, 17701 Cowan Ave
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      Irvine                     CA           92614
                                      ______________________________________________________                       Suite 210, Irvine         CA           92610
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone   949-798-2460
                                                       ________________________                                   Contact phone   949-798-2460
                                                                                                                                   ________________________

                                      Contact email   rgoe@goeforlaw.com
                                                       ________________________                                   Contact email   rgoe@goeforlaw.com
                                                                                                                                   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend               No
   one already filed?                 ✔ Yes.
                                                                                                 Claim
                                                 Claim number on court claims registry (if known) ________            1                  Filed on     07/05/2022
                                                                                                                                                     ________________________
                                                                                                                                                     MM / DD       / YYYY



5. Do you know if anyone                 No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the                                                                                                  3
                                 ✔ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____        9 ____
                                                                                                                                       ____ 3 ____
                                                                                                                                               6
   debtor?


                                   At least $553,774.84 (not including additional interest, fees and other costs)
7. How much is the claim?                                553,774.84 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                                No
                                                                             ✔
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                  Judgments, delinquent assessments, other charges
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                      ✔ Yes.
                                          The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                           ✔
                                              Other. Describe:            Abstracts of judgment, ORAP lien
                                                                          _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                              Unknown
                                                                                         $__________________
                                           Amount of the claim that is secured:            Unknown
                                                                                         $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




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12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $1,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    ✔
                                  I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date 10/25/2022
                                                   _________________
                                                           MM / DD     /   YYYY




                                   /s/ Robert P. Goe
                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Robert P. Goe
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Attorney
                                                         _______________________________________________________________________________________________

                                  Company                Goe Forsythe & Hodges LLP
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                17701 Cowan Avenue, Suite 210
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                         Irvine                                          CA           92614
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          (949) 798-2460
                                                         _____________________________                              Email   rgoe@goeforlaw.com
                                                                                                                                ____________________________________




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 Creditor: Huntington Beach Gables Homeowners Association
 Claim Itemization under FRBP 3001(c)(2)
 October 25, 2022


 Claim 1 ‐ Table of Judgment in favor of The Huntington Beach Gables Homeowners Association against
 Debtor Jamie Lynn Gallian

  OCSC Case       Case Name                Date of         Dollar Amount                     Number
  Number                                   Abstract                                          of Pages
  30‐2017‐        The Huntington Beach     4/30/2019       $9265; plus 10% per annum         4 pages
  00962999        Gables HOA v. Gallian                    from 03/21/19, which is the
                                                           date of court ordered judgment
  Total Amount                                             $12,590.25




 Claim 2 ‐ Table of Judgment in favor of The Huntington Beach Gables Homeowners Association against
 Debtor Jamie Lynn Gallian

  OCSC Case       Case Name                Date of         Dollar Amount                     Number
  Number                                   Abstract                                          of Pages
  30‐2017‐        The Huntington Beach     5/14/2019       $319,653.59; plus 10% per         12 pages
  00913985        Gables HOA v. Bradley,                   annum. Note, Item 8a of this
                  Gallian, et al.                          abstract includes two
                                                           judgments in one: first, the OC
                                                           court’s judgment order issued
                                                           against Debtor for court’s
                                                           sanctions on 09/27/18 and the
                                                           related abstract issued on
                                                           11/16/18 in the amount of
                                                           $3070.00; second, the court’s
                                                           judgment amount of
                                                           $316,583.59 issued on
                                                           5/6/2019 and related abstract
                                                           issued on 5/14/19
  Total Amount                                             $430,535.95




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 Claim 3 ‐ Table of Debtor’s Unpaid Legal Fees, Assessments and Fines Owed to The Huntington Beach
 Gables Homeowners Association by Debtor, Jamie Lynn Gallian

  Dates of Unpaid Legal Fees,             Account number        Dollar Amount including Interest from
  Delinquent Assessments, and Fines                             date of assessment
                                          HOA account           $6,785.22; $5300.50 unpaid special
  02/20/18                                #21776                assessment plus 6% interest per
                                                                annum
  2018 OC Recorder’s Office Fees          HOA account           $680.00
                                          #21776
  Fines for Violations of the CC&Rs       HOA account           $23,140
                                          #21776
  Unpaid monthly HOA dues                 HOA account           $1,586.90 ($1292.00 for 4 months of
                                          #21776                unpaid monthly assessments plus 6%
                                                                interest per annum )
  The Huntington Beach Gables HOA         State court UVTA      $78,456.52, legal fees and costs
  v. Nickel, Gallian, et al., OCSC Case   case re transfer of   (ongoing UVTA state court litigation so
  No. 30‐2020‐01163055                    Debtor’s condo to     additional legal fees and costs in the
                                          Nickel                future)
  Total Amount                                                  $110,648.64


 Grand Total: $553,774.84




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                   EXHIBIT 2




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   D. EDWARD HAYS, #162507
 1 ehays@marshackhays.com
   LAILA MASUD, #311731
 2 lmasud@marshackhays.com                                FILED & ENTERED
   BRADFORD N. BARNHARDT, #328705
 3 bbarnhardt@marshackhays.com
   MARSHACK HAYS LLP                                             JUL 07 2023
 4 870 Roosevelt
   Irvine, CA 92620
 5 Telephone: (949) 333-7777                                CLERK U.S. BANKRUPTCY COURT
                                                            Central District of California
   Facsimile: (949) 333-7778                                BY bolte      DEPUTY CLERK
 6
   Attorneys for Plaintiff,
 7 HOUSER BROS. CO. dba RANCHO DEL
   REY MOBILE HOME ESTATES
 8
                             UNITED STATES BANKRUPTCY COURT
 9
                  CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10
   In re                                       Case No. 8:21-bk-11710-SC
11
   JAMIE LYNN GALLIAN,                         Chapter 7
12
                  Debtor.                      Adv. No. 8:21-ap-01097-SC
13
                                               JUDGMENT DENYING DEBTOR’S
14                                             DISCHARGE PURSUANT TO 11 U.S.C.
   HOUSER BROS. CO. dba RANCHO DEL REY
                                               §§ 727(a)(2)(A), (a)(4), AND (a)(5)
15 MOBILE HOME ESTATES,
                  Plaintiff,                   Trial:
16                                             Date: April 26, 2023
                                               Time: 9:30 a.m.
17 v.                                          Courtroom: 5C
18
     JAMIE LYNN GALLIAN,
19
                   Defendant.
20

21

22         On April 26, 2023, a trial was held in the above captioned adversary proceeding (“April 26
23 Trial”) on Plaintiff’s three claims pursuant to 11 U.S.C. § 727. D. Edward Hays, Esq. and Bradford

24 N. Barnhardt, Esq. appeared on behalf of Plaintiff Houser Bros. Co. dba Rancho Del Rey Mobile

25 Home Estates (“Plaintiff”), as did Chris Houser, who appeared and testified as Plaintiff’s

26 representative. Greg Buysman was also called as a witness by Plaintiff. Defendant, Jamie Lynn
27 Gallian (“Defendant” or “Debtor”), appeared pro se and testified. All parties were afforded an

28 opportunity to cross-examine witnesses. Plaintiff and Defendant were permitted the opportunity to

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 1 present evidence in support of their case and defense. Witnesses were sworn and testimony and

 2 documentary evidence was received and admitted into evidence.

 3         The Court having heard the testimony and oral argument, having examined the evidence
 4 offered by the parties and admitted into evidence, and having reviewed the parties’ briefs, as well as

 5 Defendant’s post-trial declaration filed on May 1, 2023, as Dk. No. 71, and based upon all the

 6 evidence, and for the reasons set forth in the Court’s Memorandum Decision After Trial Regarding

 7 § 727 Claims, entered on May 23, 2023, as Dk. No. 81, the Court has determined that cause exists

 8 for Defendant’s discharge to be denied. Pursuant to a separate order entered by the Court after a
 9 status conference held on June 27, 2023, the Court found that good cause exists and that there is no

10 just reason for delay in entering a final judgment denying Debtor’s discharge under 11 U.S.C. § 727

11 pursuant to Rule 54(b) of the Federal Rules of Civil Procedure applicable here pursuant to Rule

12 7054(a) of the Federal Rules of Bankruptcy Procedure. Accordingly, the Court enters final Judgment

13 in favor of Plaintiff as follows:

14         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Judgment is entered in
15 favor of Plaintiff and against Defendant on the Third Claim for Relief and that Debtor’s discharge is

16 denied pursuant to 11 U.S.C. § 727(a)(2)(A);

17         IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Judgment is entered in
18 favor of Plaintiff and against Defendant on the Fourth Claim for Relief and that Debtor’s discharge

19 is denied pursuant to 11 U.S.C. § 727(a)(4); and
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 1         IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Judgment is entered in
 2 favor of Plaintiff and against Defendant on the Fifth Claim for Relief and that Debtor’s discharge is

 3 denied pursuant to 11 U.S.C. § 727(a)(5).

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     Date: July 7, 2023
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  1                             PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 17701 Cowan, Bldg. D, Suite 210, Irvine, CA 92614
  3
      A true and correct copy of the foregoing document entitled (specify): REPLY IN SUPPORT OF MOTION
  4   FOR RELIEF FROM THE AUTOMATIC STAY (ACTION IN A NON-BANKRUPTCY FORUM); REQUEST
      FOR JUDICIAL NOTICE IN SUPPORT OF SAME will be served or was served (a) on the judge in chambers
  5   in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On July 12, 2023, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  8   receive NEF transmission at the email addresses stated below:

  9                                                 Service information continued on attached page
 10
      2. SERVED BY UNITED STATES MAIL:
      On (date) July 12, 2023, I served the following persons and/or entities at the last known addresses in this
 11
      bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
 12   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 13
       Jamie Lynn Gallian                                       Janine Jasso
 14    16222 Monterey Ln Unit 376                               PO Box 370161
       Huntington Beach, CA 92649                               El Paso, CA 79937
 15
       Michael D Poole
 16    Feldsott & Lee
       23161 Mill Creek Dr Ste 300
 17    Laguna Hills, CA 92653

 18                                                 Service information continued on attached page

 19   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
      (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
 20   July 12, 2023, I served the following persons and/or entities by personal delivery, overnight mail service, or
      (for those who consented in writing to such service method), by facsimile transmission and/or email as
 21   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
      judge will be completed no later than 24 hours after the document is filed.
 22
             The Honorable Scott C. Clarkson, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 23
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 24
        July 12, 2023            Susan C. Stein                              /s/Susan C. Stein
 25     Date                     Printed Name                                Signature

 26
 27
 28

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  1   Mailing Information for Case 8:21-bk-11710-SC

  2   Electronic Mail Notice List
  3   The following is the list of parties who are currently on the list to receive email notice/service for this case.
  4
             Bradford Barnhardt bbarnhardt@marshackhays.com,
  5           bbarnhardt@ecf.courtdrive.com,kfrederick@ecf.courtdrive.com
             Aaron E. DE Leest adeleest@DanningGill.com,
  6           danninggill@gmail.com;adeleest@ecf.inforuptcy.com
             Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
  7          Jeffrey I Golden (TR) lwerner@go2.law,
              jig@trustesolutions.net;kadele@go2.law;C205@ecfcbis.com
  8          D Edward Hays ehays@marshackhays.com,
              ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;
              cmendoza@ecf.courtdrive.com
  9
             Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
 10          Eric P Israel eisrael@danninggill.com,
              danninggill@gmail.com;eisrael@ecf.inforuptcy.com
 11          Laila Masud lmasud@marshackhays.com,
              lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
             Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
 12
             Valerie Smith claims@recoverycorp.com
 13          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

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